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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

VERN SCHULDHEISZ                                                                 PLAINTIFF

v.                                 3:20-cv-00206-JM-JJV

STATE OF ARKANSAS, et al.                                                     DEFENDANTS


                                        JUDGMENT

       Consistent with the Order entered separately today, this case is DISMISSED WITHOUT

PREJUDICE, and this case is CLOSED. It is certified that an in forma pauperis appeal from this

Judgment would not be taken in good faith. 28 U.S.C. § 1915(a)(3).

       Dated this 25th day of January 2021.




                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE
